






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00174-CR






Jose Ybarra, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 390TH JUDICIAL DISTRICT


NO. 3021536, HONORABLE JULIE H. KOCUREK, JUDGE PRESIDING






O R D E R


PER CURIAM

Appellant's  motion for extension of time to file brief is granted.  Appellant's counsel,
Mr. Walter C. Prentice, is ordered to tender a brief in this cause no later than July 23, 2004.  No
further extension of time will be granted.

It is ordered July 7, 2004.


Before Justices Kidd, B. A. Smith and Pemberton

Do Not Publish


